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                                      ORDERED.
Dated: April 23, 2025




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION
                                         www.flmb.uscourts.gov

   In re                                          )
                                                  )
   Chaim Levilev,                                 )         Case No. 6:24-bk-03843-LVV
                                                  )         Chapter 7
                   Debtor.                        )
                                                  )

                             ORDER GRANTING MOTION TO
                    CONTINUE HEARING AND RESCHEDULING DEADLINES

           THIS CASE came before the Court without a hearing on the Motion to Continue Hearing

  Set for April 29, 2025 and Corresponding Associated Deadlines (Doc. No. 117)(“Motion”) filed by

  chapter 7 trustee, Gene T. Chambers. After reviewing the pleadings and considering the positions

  of all interested parties, it is

           ORDERED:

           1.      The Motion (Doc. No. 117) is GRANTED.

           2.      All matters scheduled for hearing on April 29, 2025 are rescheduled for a status

  conference on June 17, 2025 at 2:30 p.m. before the Honorable Lori V. Vaughan, United States

  Bankruptcy Judge in Courtroom C, Sixth Floor, of the United States Bankruptcy Court, 400 West

  Washington Street, Orlando, Florida 32801.




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       3.      Creditors Joseph Levilev, Sara Levilev, Nossen Levilev, Harmless Products, LLC,

and the Smoke Free World Foundation shall have through and including June 23, 2025 within

which to file any objections to discharge and/or to challenge the dischargeability of certain debt in

the above styled case.

       4.      The time for filing an adversary complaint under 11 U.S.C. § 727 is extended

through and including June 23, 2025 for both the Chapter 7 Trustee and the United States Trustee.

       5.      The deadline to file supplemental briefs on the motion to approve the compromise

and oppositions is extended to June 10, 2025.

Attorney Cynthia E. Lewis is directed to serve a copy of this order on interested non-CM/ECF
users and file a proof of service within three (3) days of entry of the order.




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